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UN|TED STATES DISTR|CT COURT
WESTEFIN D|STR|CT OF TENNESSEE

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-v_ 04-20401-01-~|3 '\‘l,’i) OF itt iiiil?tii$

HENFtY WlLLlAMS
Edwin Perr_'y, FPD
Defense Attorney
200 Jefferson Avenue, Suite 200
Memphis,Tennessee 38103

 

JUDGMENT |N A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant was found guilty on Count 1 of the lndictment on April 12, 2005. Accordingly, the
court has adjudicated that the defendant is guilty of the following offense(s):

Date Offense Count

Title & section Mng Conclud d Nu_mbeg§}
18 U.S.C. § 922(9) Felon in possession of a firearm 08/22/2003 1

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Mandatory
Victims Fiestitution Act of 1996.

lT |S FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 12/22/1941 Juiy 15, 2005
Deft’s U.S. Marshal No.: 19967-076

Defendant’s Residence Address:
714 Goodwyn
|Vlemphis, TN

J/V/"K

SAMUEL H. IV|AYS, JFi.
UN|TED STATES D|STR|CT JUDGE

 

Ju|y l q , 2005

This docc_ment entered on the docket et in comp|i
with R.ile 55 and/or 32lbl FRCrP on "

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Case No: 04-20401-01-Ma
Defendant Name: Henry Wii|iams Page 2 of 4

lMPR|SONNIENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of one hundred eighty (180) months.

The defendant is remanded to the custody of the United States Nlarshai.

RETURN

l have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at . with a certified copy of this
judgment.
UN|TED STATES MARSHAL
By.'

 

Deputy U.S. Niarsha|

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Case No: 04-20401-01-Ma
Defendant Name: l-ienry Wiiiiams Page 3 of 4

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of three (3) years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federai, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

t. The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthqu ali inquiries by the probation officer and follow the instructions of
the probation officer;

41 The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten (10) days prior to any change in residence or
employment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchasel possess, use,

distribute, cr administer any narcotic or other controlled substance or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed or administered',

B. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

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Defendant Name: Henry Wiiiiams Page 4 of 4

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics, and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirement

13. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminai Monetary Penalties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
reiease:

1. The defendant shall cooperate in the collection of DNA as directed by the Probation Officer.

CR|M|NAL MONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance with
the schedute of payments set forth in the Scheduie of Payments. The defendant shall pay interest
on any fine or restitution of more than $2,500, unless the fine or restitution is paid in full before the
fifteenth day after the date of judgment, pursuant to 18 U.S.C. § 3612(f). Aii of the payment
options in the Schedu|e of Payments may be subject to penalties for defauit and delinquency
pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution
$100.00

The Speciai Assessment shall be due immediately.

F|NE
No fine imposed

REST|TUT|ON
No Ftestitution was ordered

IAI l
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UNITD s"sATE IsTRIC COURT - WETERN DlsRlTC OF TENNESSEE

     

Notice of Distribution

This notice confirms a copy of the document docketed as number 69 in
case 2:04-CR-20401 Was distributed by faX, mail, or direct printing on
July 20, 2005 to the parties listed.

 

 

Edwin A. Perry

FEDERAL PUBLIC DEFENDER
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Ste. 200

i\/lemphis7 TN 38103

Michael Robert McCusker

U.S. ATTORNEY'S OFFICE- Memphis
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

